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                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,                       Case No. 1:22-cv-329

                       Plaintiff,                STATE OF IDAHO’S NON-
                                                 OPPOSITION TO IDAHO
 v.                                              LEGISLATURE’S MOTION FOR
                                                 RECONSIDERATION (Dkt. 97)
 THE STATE OF IDAHO,

                       Defendant.


       The State of Idaho notifies the Court that it does not oppose the Idaho Legislature’s Motion

for Reconsideration of Order Granting Preliminary Injunction, Dkt. 97. The State of Idaho has

already noted points of agreement with respect to the Idaho Legislature’s motion for

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reconsideration, as set out in the State of Idaho’s Motion to Reconsider Preliminary Injunction

(Dkt. 95), filed September 21, 2022. See Dkt. 101-1.

       DATED this 28th day of September, 2022.

                                                  STATE OF IDAHO
                                                  OFFICE OF THE ATTORNEY GENERAL


                                            By:     /s/ Brian V. Church
                                                  STEVEN L. OLSEN
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STATE OF IDAHO’S NON-OPPOSITION TO IDAHO LEGISLATURE’S MOTION FOR
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 28th day of September, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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STATE OF IDAHO’S NON-OPPOSITION TO IDAHO LEGISLATURE’S MOTION FOR
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